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UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

Office office Clerk
Thomas M Gould, Clerk . Deputy-in-Charge
242 Federal Building U.S. Courthouse, Roam 262
167 N. Main Street 111 South Highland Avenue
Memphis, Tennessee 38103 Jackson, Tennessee 38301
(901) 495-1200 ( 731 ) 421 -9200

 

NOTICE OF RE-SETTING
Before Judge James D. Todd, Chief United States District Judge

 

Septernber l, 2005

RE: l:O4cr10061-003T
USA v. GARY GUEST

Dear Sir/Madarn:

A(n) SENTENCING HEARING before Judge J ames D. Todd has been RE-SET from
FRlDAY, SEPTEMBER 2, 2005 at 8:30 A.M. to FRIDAY, SEPTEMBER 16, 2005 at 8:30 A.M.
in Courtroom 432, 4“‘ floor of the U. S. Courthouse, .]ackson, Tennessee before Judge J ames

D. Todd .

The parties are instructed to have present any witnesses Who Will be needed for this hearing.

As to defendants on bond, failure to appear Without leave of court Will result in a forfeiture
of appearance bond and issuance of a Warrant for arrest.

If you have any questions, please contact the case manager at the number provided below.

Sincerely,
THOMAS M. GOULD, CLERK

Evelyn C eairs, Case Manager
731-421-9207

903

 

WESTRNE

Notice of Distribution

This notice confirms a copy of the document docketed as number 203 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
Septernber 1, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

